Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 1 of 44

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ESTATE OF EDWARD L. : ELECTRONICALLY FILED
HIMMELWRIGHT, Deceased, :
Plaintiff
CASE NO.
V.
BOBBIE JO BRUNGARD,

LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL
DISABILITY PROGRAM, DR.
JAMES SWEETLAND, UPMC
LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the:
PENNSYLVANIA STATE POLICE, :
Defendants JURY TRIAL DEMANDED

TABLE OF CONTENTS FOR EXHIBITS

Pursuant to Local Rule of Court 5.1(f), the following Exhibits are
submitted with the foregoing Notice of Removal of Civil Action:

Exhibit A — Complaint in State Court Action

Exhibit B — All other pleadings, process, and Order served upon the
Moving Defendants.

Exhibit C — Consent to Removal of Defendants Trooper Benjamin J.
Campana and the Pennsylvania State Police.

Exhibit D — Consent to Removal of defendant Dr. James Sweetland.

Exhibit E — Consent to Removal of defendants Bobbie Jo Brungard and

Lycoming-Clinton Mental Health-Intellectual Disability Program.
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 2 of 44

McCORMICK LAW FIRM

By

/s/ Richard F. Schluter

 

Richard F. Schluter
PA I.D. 79672

Attorney for Defendant
UPMC Lock Haven

835 West Fourth Street
Williamsport, PA 17701
(570) 326-5131

(570) 601-0768 (fax)
rschluter@mecclaw.com

 
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Exhibit A
' Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 4 of 44

IN THE COURT OF COMMON PLEAS OF CLINTON COUNTY, PENNSYLVANIA
CIVIL DIVISION

 

ESTATE OF EDWARD L. HIMMELWRIGHT, *~ :
Deceased :

Plaintiff,

ys, : No. 808-2021

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL HEALTH-
INTELLECTUAL DISABILITY PROGRAM,

DR. JAMES SWEETLAND, UPMC LOCK
HAVEN, TROOPER BENJAMIN J, CAMPANA, _:
Atid the PENNSYLVANIA STATE POLICE :

Defendants _

NOTICE

You have been sued i in Court. Ifyou wish to defend against the claims set forth in the following
pages, you must take action within twenty (20) days after this Complaint and Notice.are served,
by entering a written appearance personally or by attorney and filing in writing with the Court
your defenses or objections to the claims set forth against you, You are warned that if you fail to
do so-the case may proceed without you and a judgment may be entered. against you by the Coutt
without further notice for any money claimed in the Complaint or for any other claims or relief
requested by the Plaintiff. You may lose money or property or other rights important to-you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER. OR CANNOT AFFORD PONE, ¢ GO TO OR TELEPHONE THE

Court Administrator
Court of Common Pleas of Clinton County
230 E. Water Street
Lock Haven, PA 17745
Telephone: 570-893-4016
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 5 of 44

IN THE COURT OF COMMON PLEAS OF CLINTON COUNTY, PENNSYLVANIA
CIVIL DIVISION

 

 

 

ESTATE OF EDWARD L. HIMMELWRIGHT,
Deceased

Plaintiff,
vs, : No. 808-2021
BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL HEALTH-
INTELLECTUAL DISABILITY PROGRAM,
DR. JAMES SWEETLAND, UPMC LOCK

HAVEN, TROOPER BENJAMIN J. CAMPANA,
And the PENNSYLVANIA STATE POLICE

Defendants

COMPLAINT

1. The Decedent Edward L. Himmelwright was an adult individual formerly residing at
1166 Fishing Creek Road, Mill Hall, Clinton County, PA 17751, Decedent passed away
on October 12, 2020.

2. Anna M. Douty is the daughter of the Decedent and has received letters testamentary
from the Register of Wills of Clinton County as Executrix of his estate.

3. Defendant Bobbie Ho Brungard is an adult individual believed to be employed by the
Lycoming-Clinton Mental Heath-Intellectual Disability Program.

4, Defendant Lycoming-Clinton Mental Health- Intellectual Disability Program is believed
to have offices at 8 North Grove Street, Suite A, Lock Haven, Clinton County, PA.

5. Defendant James Sweetland is believed to be a licensed’medical doctor practicing at

UPMC Lock Haven.
10.

lk,

Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 6 of 44

Defendant UPMC Lock Haven is a medical facility located at 24 Cree Drive, Lock
Haven, Clinton County, PA,

Defendant Trooper Benjamin J. Campana is an employee of the Pennsylvania State
Police.

Defendant the Pennsylvania State Police are Pennsylvania’s state law enforcement
agency. It is believed that their Troop F Mill Hall Station was involved in this incident.

That address is 113 Boyd Road, Mill Hall, Clinton County, PA 17751.

On July 10, 2019, the Decedent was experiencing a mental health episode,

On that date, Defendant Brungard, while acting in her employment with Lycoming-
Clinton Mental Health- Intellectual Disability Program did initiate an involuntary mental
health commitment under section 302 of the Mental Health Procedures Act. Specifically,
it is believed that Defendant Brungard prepared the petition, signed the warrant
authorization, signed the notification of rights and signed the affirmation regarding

protection of patient’s interest.
Pursuant to 50 P.S. 7302:

Upon arrival at the facility, the person shall be informed of the reasons for emergency
examination and of his right to communicate immediately with others. He shal! be given
reasonable use of the telephone. He shal! be requested to furnish the names of parties
whom he may want notified of his custody and kept informed of his status. The county
administrator or the director of the facility shall:

(1) give notice to such parties of the whereabouts and status of the person, how and when
he may be contacted and visited, and how they may obtain information concerning him
while he is in inpatient treatment; and

(2) take reasonable steps to assure that while the person is detained, the health and safety
needs of any of his dependents are met, and that his personal property and the premises
he occupies are secure.

50 Pa. Stat. Ann. § 7302 (West)
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 7 of 44

12, Under Pennsylvania law two forms must be given to an individual subject to involuntary
examination and treatment:
(e) Upon arrival at a facility previously designated as a provider of emergency
examinations. Form MH-783 shall be completed and Form MH-783-B shall be given to
the person subject to the examination. The person shall be informed of his right to
counsel and be advised that if he cannot afford counsel, counsel can be provided.
55 Pa. Code § 5100.86.
(g) If the person is determined to be severely mentally disabled and in need of immediate
treatment:
(1) The examining physician shall make certain that the person has received a copy of
forms MH-782, Bill of Rights, and MH-783-A, Explanation of Rights Under Involuntary
Emergency Commitment.
55 Pa. Code § 5100.86
13, Neither the 302 petition nor the hospital records show that these notifications of rights

were ever provided to the Decedent. The 302 form only represents that Defendant

Brungard explained the Decendent’s rights to him.

14. Based on the warrant issued by Defendant Brungard, the Decedent was taken into
custody and transported to UPMC Lock Haven, where he was examined by Dr. James

Sweetland.

15. Pursuant to 50 P.S. 7302(b) an individual detained for mental health treatment must be

examined within two hours of arrival.

16. Per hospital records, Decedent arrived at UPMC Lock Haven at 2:06 PM on July 10,

2019. However, the 302 forms state that Decedent arrived at 3:01 PM. As the Decedent
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 8 of 44 ©

was brought in on a mental health warrant, he should have been examined no later than

4:06 PM.

17. The time of examination as stated on the 302 form is illegible. It could be 1915 hours,
which would be 7:15 PM. The medical records are silent as to when the 302 examination
was performed. There is a report electronically signed by Defendant Sweetland at 8:21

PM.

18. Per the 302 paperwork, upon examination, Dr. Sweetlarid found that Decedent was
“severely mentally disabled and in need of treatment. He should be admitted to a facility
designated by the County Administrator for a period of treatment not to exceed 120

hours.”

19, Decedent was never committed to a mental health facility. He remained in regular
hospital care and was transferred to Hershey Medical Center for further medical

treatment.

20. Pursuant to $0 P.S. 7302(b), “If it is determined that the person is severely mentally

disabled and in need of emergency treatment, treatment shall be begun immediately.” 50

Pa, Stat. Ann. § 7302 (West), Defendants Sweetland and UPMC Lock Haven did not.

provide for that treatment.

21. Pursuant to 18 Pa. C.S.A. 6105(a)(2)(i), an individual who has been involuntarily

committed to a mental institution under section 302 of the mental health procedures
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 9 of 44

pursuant to 18 Pa. C.S.A. 6105(c)(4) shall have up to 60 days in which to sell or transfer

firearms.

22. However, rather than allow Decedent to address the firearms situation, Defendant
Brungard and/or other employees of the Lycoming-Clinton Mental Health did contact the

Pennsylvania State Police.

23. On or about July 11, 2019, Defendant Campana while acting as a Trooper for the
Pennsylvania State Police did obtain a warrant for Decedent’s residence. The Trooper did
seize firearms from Decedent’s residence. It was not unlawful for Decedent to possess

these firearms at that time. Decedent was not charged with any crimes,

I, Trespass to Chattel- Under Pennsylvania Law

24. All of the foregoing paragraphs are incorporated herein by reference
25. Trooper Campana while acting as a State Trooper did enter Decedent’s residence without

good legal cause to do so. He did do damage to Decedent’s property in the course of

doing so.

26. Trooper Campana and the Pennsylvania State Police are legally responsible for that
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 10 of 44
damage.

WHEREFORE, Defendants should be ordered to reimburse Plaintiff for the fair value of the

damaged property.
T. FALSE RESTRAINT/FALSE IMPRISONMENT

27. All of the foregoing paragraphs are incorporated herein by reference.

28. Defendants Sweetland and UPMC Lock Haven were legally authorized to detain
Decedent for no more than two hours under the Mental Health Procedures Act.

29. Defendant arrived at 2:06 PM. It is unclear when the 302 evaluation was performed, but
it appears that Decedent was detained well past 4:06 PM.

30, By detaining Decedent past the two hour time limit, these Defendants did detain him
unlawfully.

31. Plaintiff is therefore entitled to compensation for Decedent’s unlawful detention.
WHEREFORE, Defendants should be ordered to reimburse Plaintiff just compensation

for his. false imprisonment:
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35.

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Il, VIOLATIONS OF 42 U.S.C. 1983
A. Defendants Brungard and Lycoming-Clinton Mental Health- Intellectual
Disability Program
All of the foregoing paragraphs are incorporated herein by reference,
Acting under color of law and pursuant to official policy or custom Defendant Brungard
through her position with Lycoming-Clinton Mental Health- Intellectual Disability

Program knowingly, recklessly, or with gross negligence:

(a) unlawfully and maliciously failed to advise Decedent of his rights under the mental

health procedures act.

(b) incorrectly informed the Pennsylvania State Police that Decedent had been committed
to a mental health facility, thereby resulting in an unlawful search for and seizure of

Decedent’s firearms and damage to Decedent’s personal property,

(c) conspiring to violate the rights, privileges, and immunities guaranteed to Plaintiff by
the Constitution and laws of the United States and the laws of the Commonwealth of

Pennsylvania; and

(d) otherwise depriving Plaintiff of his constitutional and statutory rights, privileges, and

immunities,

Defendant Brungard was a state actor at all relevant times herein, -

It is believed and therefore averred that the Lycoming-Clinton Mental Health- Intellectual

Disability Program did have knowledge of, did support and did consent to Defendant
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 12 of 44

Brungard’s actions.
36. It is further averred that Lycoming-Clinton Mental Health- Intellectual Disability

Program failed to ensure that Defendant Brungard was properly supervised or trained.

37, Both Defendants had power to prevent or aid in preventing the commission of said
wrongs, could have done so by reasonable diligence, and knowingly, recklessly, or with

gross negligence failed or refused to do so.

38. The failure to properly supervise or train Defendant Brungard demonstrates deliberate
indifference on the part of Lycoming-Clinton Mental Health- Intellectual Disability

Program.
B. Defendants Campana and the Pennsylvania State Police

39, All of the foregoing paragraphs are incorporated herein by reference.
40, Acting under color of law and pursuant to official policy or custom Defendant Campana
through his position with the Pennsylvania State Police knowingly, recklessly, or with

gross negligence:

(a) unlawfully and maliciously obtained a search warrant for Decedent’s residence. In
doing so, Defendant Campana unlawfully seized Decedent’s firearms and did do damage

to Decedent’s property.

(b) conspiring to violate the rights, privileges, and immunities guaranteed to Decedent by
41,

42.

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44.

45,

Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 13 of 44

the Constitution and laws of the United States and the laws of the Commonwealth of

Pennsylvania; and

(c) otherwise depriving Decedent of his constitutional and statutory rights, privileges, and

immunities.

Defendant Campana was a state actor at all relevant times herein.

It is believed and therefore averred that the Pennsylvania State Police did have
knowledge of, did support and did consent to Defendant Campana’s actions.
It is further averred that the Pennsylvania State police failed to ensure that Defendant

Campana was properly supervised or trained.

Both Defendants had power to prevent or aid in preventing the commission of said
wrongs, could have done so by reasonable diligence, and knowingly, recklessly, or with

gross negligence failed or refused to do so,

The failure to properly supervise or train Defendant Campana demonstrates deliberate

indifference on the part of the Pennsylvania State Police.

C. Defendants Sweetland and UPMC Lock Haven

46, All of the foregoing paragraphs are incorporated herein by reference.

47, Acting under color of law and pursuant to official policy or custom Defendant Sweetland

through his position with UPMC Lock Have knowingly, recklessly, or with gross

negligence:
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 14 of 44

(a) unlawfully and maliciously failed to timely examine Decedent, which resulted in his
unlawful detention.
(b) Unlawfully and maliciously failing to inform Decedent of his rights.

(ec) Failing to provide the legally required treatment under 50 P.S. 7302(b),

(c) conspiring to violate the rights, privileges, and immunities guarantced to Decedent by
the Constitution and laws of the United States and the laws of the Commonwealth of

Pennsylvania; and

(d) otherwise depriving Decedent of his constitutional and statutory rights, privileges,

and immunities.

48, Defendant Sweetland was a state actor as he had specifically been given authority by the

state by statute to detain and examine Decedent.

49, It is believed and therefore averred that UPMC Lock Haven had knowledge of, did

support and did consent to Defendant Sweetland’s actions.

50. It is further averred that UPMC Lock Haven failed to ensure that Defendant Sweetland

was properly supervised or trained.

51. Both Defendants had power to prevent or aid in preventing the commission of said
wrongs, could have done so by reasonable diligence, and knowingly, recklessly, or with

gross negligence failed or refused to do so.
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 15 of 44

52. The failure to properly supervise or train Defendant Sweetland demonstrates deliberate

indifference on the part of UPMC Lock Haven.
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 16 of 44

WHEREFORE, Plaintiff demands judgment against the Defendants for actual, general, special,
compensatory damages plus the costs of this action, including attorney's fees, and such other

relief deemed to be just and equitable.

Respectfully submitted,

   
    

Erté Winter“Bsquire
Attomey [.D. #84200
646 Lenape Road
Bechtelsville, PA 19505

 
Case 4:21-cv-01731-MWB Document1-1 Filed 10/11/21 Page 17 of 44

VERIFICATION

_ Thereby verify that the facts set forth herein are true and correct to the best of my
knowledge, information and belief and that this verification is made subject to the penalties of 18
Pa, C.S.A. Section 4904 relating to unsworn falsification to authorities.

(dati Prd |

Anna M. Douty

Dated: q j 22-7 |
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 18 of 44

Exhibit B
CRAIG P. MILLER
PRESIDENT JUDGE
COURT OF COMMON FLEAS
ASTH.JUDIGIAL DISTRICT
OF PENNSYLVANIA
COURTHOUSE
LOCK HAVEN, PA 17745

ESTATE OF EDWARD L.
HIMMELWRIGHT,
Plaintiff

VS,

BOBBIE JOBRUNGARD,

| LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL

| DISABILITY PROGRAM, DR. JAMES
-SWEETLAND, UPMC. LOCK HAVEN,
TROOPER BENJAMIN J. CAMPANA,
_and the PENNSYLVANIA STATE
POLICE, —

 

Defendants

pleading.

cc: — Erie Winter, Esquire
Bobbie Jo Brungard, Defendant

 

 

No, 808-2021

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AND NOW, this 23rd day of July, 2021, IT IS HEREBY ORDERED that
|| a Status Conference be held on the 18th day of January, 2022 at 2:30 P.M.,

Courtroom No. 1, Clinton County Courthouse, Lock Haven, Pennsylvania. The

Gase 4:21-cv-01731-MWB Document1-1 Filed 10/11/21 Page 19 of 44

IN THE COURT OF COMMON PLEAS OF CLINTON COUNTY, PERS YLVANIA
CIVIL ACTION —LAW

| Scheduling of this Conference does not relieve any party of the requirements of the

| “applicable Rules of Civil Procedure, specifically the requirement to file-a responsive

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PI.

 
Craig. P. MILLER
PRESIDENT JUDGE
COURT. OF COMMON PLEAS
257TH JUDICIAL DISTRICT
OF PENNSYLVANIA
SoURTHOUSE
~OCGK HAVEN, PA 17745

Ciase 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21

Lycoming-Clinton Mental Health
Intellectual Disability Program, Defendant
Dr. James Sweetland, Defendant
J6PMC Lock Haven, Defendant
Trooper Benjamin J. Campana, Defendant
- Pennsylvania State Police, Defendant
Court Administrator

 

 

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IN THE COURT OF COMMON PLEAS OF CLINTON COUNTY, PENNSYLVANIA
CIVIL DIVISION

 

--- ESTATE OF EDWARD L. HIMMEL WRIGHT,
Deceased

Plaintiff,
VS. : No. 808-2021

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL HEALTH-

~’ INTELLECTUAL DISABILITY PROGRAM,
DR. JAMES SWEETLAND, UPMC LOCK
HAVEN, TROOPER BENJAMIN J. CAMPANA,
And the PENNSYLVANIA STATE POLICE

 

Defendants

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PRAECIPE TO REISSUE WRIT OF SUMMONS

TO THE PROTHONOTARY:
Kindly reissue a Writ of Summons to the Defendants in the above-captioned action. The
prior version of the Writ of Summons misidentified the Defendants to be served with the writ.

The Defendants identified in the original caption are correct.

Respectfully submitted,

U6 Lene!

Eric Winter, Esquire
Attorney ID. #84200
646 Lenape Road

By:
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 22 of 44

Bechtelsville, PA 19505
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 23 of 44

IN THE COURT OF COMMON PLEAS OF CLINTON COUNTY, PENNSYLVANIA
CIVIL DIVISION

 

ESTATE OF EDWARD L. HIMMELWRIGHT,
Deceased

Plaintiff,
vs. : No. 808-2021

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL HEALTH-
INTELLECTUAL DISABILITY PROGRAM,
DR. JAMES SWEETLAND, UPMC LOCK
HAVEN, TROOPER BENJAMIN J. CAMPANA,
And the PENNSYLVANIA STATE POLICE

Defendants

 

AMENDED WRIT OF SUMMONS
To: BOBBIE JO BRUNGARD, LYCOMING-CLINTON MENTAL HEALTH-

INTELLECTUAL DISABILITY PROGRAM, DR. JAMES SWEETLAND, UPMC LOCK
HAVEN, TROOPER BENJAMIN J. CAMPANA, And the PENNSYLVANIA STATE POLICE

You are hereby notified that the Estate of Edward L. Himmelwright, Deceased commenced

an action against you.
: , DATE: 7] j 2 C2 2.02 | , Prothonotary

By:
Deputy
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 24 of 44

IN THE COURT OF CQMMON-PLEAS

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased, OF CLINTON COUNTY, =
Plaintiff PENNSYLVANIAG Py
Vv. BS = > os
BOBBIE JO BRUNGARD, NO. 808-2021 SS jaan
LYCOMING-CLINTON MENTAL id
HEALTH-INTELLECTUAL DISABILITY: “ PS
PROGRAM, DR. JAMES SWEETLAND, — : CIVIL ACTION - LAW
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
JURY TRIAL DEMANDED

Defendant

PRAECIPE FOR RULE TO FILE A COMPLAINT

TO THE PROTHONOTARY:

Please issue a Rule on plaintiff to file a Complaint in the above-captioned action within

twenty (20) days, or suffer a judgment of non pros.
Respectfully submitted,
McCORMICK LAW FIRM

ohld Mle,

* Richard F. Schluter, Esquire

LD. No. 79672
Attorney for Defendant

UPMC Lock Haven

 

‘RULE TO FILE A COMPLAINT

AND NOW, this G a

Plaintiff to file a Complaint in the above-captidéned action within twenty (20) days of service of

(ries A a

Prothonotary

, 2021, a Rule is hereby issued on

 

the within Rule, or to suffer a judgment of non pros.

 

 

 
McCORMICK LAW FIRM
835 W. FOURTH ST.
WILLIAMSPORT, PA.

 

 

Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 25 of 44

ESTATE OF EDWARD L, : INTHE COURT OF COMMON PLEAS
HIMMELWRIGHT, Deceased, ; OF CLINTON COUNTY,
Plaintiff : PENNSYLVANIA .
Vv.
BOBBIE JO BRUNGARD, ; NO, 808-2021

LYCOMING-CLINTON MENTAL

HEALTH-INTELLECTUAL DISABILITY:

PROGRAM, DR. JAMES SWEETLAND, © : CIVIL ACTION - LAW
UPMC LOCK HAVEN, TROOPER

BENJAMIN J. CAMPANA, and the |

PENNSYLVANIA STATE POLICE,

Defendant : JURY TRIAL DEMANDED

CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.

McCORMICK LAW FIRM

oh LY

Richard F, Schluter, Esquire
ID. No. 79672

Attorney for Defendant
UPMC Lock Haven

 
Case 4:21-cv-01731-MWB Document 1-1

Filed 10/11/21 Page 26 of 44

ESTATE OF EDWARD L. IN THE COURT OF COMMON PLEAS
HIMMELWRIGHT, Deceased, OF CLINTON COUNTY,
Plaintiff PENNSYLVANIA
v.
BOBBIE JO BRUNGARD,

LYCOMING-CLINTON MENTAL

NO. eae

iv.

HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant

   

JURY TRIAL I DEMANDED od

CERTIFICATE OF SERVICE

I, RICHARD F. SCHLUTER, ESQUIRE, hereby certify that I have served a copy of the
attached Rule to File a Complaint, upon the following, this 25" day of August 2021 , as

follows:

UNITED STATES MAIL, POSTAGE PREPAID:

Eric Winter, Esquire
646 Lenape Road
Bechtelsville, PA 19505

Dr. James Sweetland
24 Cree Drive
Lock Haven, PA 17745

Bobbie Jo Brungard

~ Lycoming-Clinton Mental Health
-Intellectual Disability Program
8 North Grove Street, Suite A
Lock Haven, PA 17745

Trooper Benjamin J. Campana
The Pennsylvania State Police
1800 Elmerton Avenue
Harrisburg, PA 17110

McCORMICK LAW FIRM

“QL lek

Richard F. Schluter, Esquire
I.D. No. 79672

Attorney for Defendant
UPMC Lock Haven

 

MeCORMICK LAW FIRM
835 W. FOURTH ST.
WILLIAMSPORT, PA.

 

 

 
McCORMICK LAW FIRM
835 W, FOURTH ST.
WILLLAMSPORT, PA.

 

 

Case 4:21-cv-01731-MWB Document 1-1

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased,
Plaintiff

Vv.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant

Filed 10/11/21 Page 27 of 44

IN THE COURT OF COMMON PLEAS

 

CIVIL ACTION - LAW

JURY TRIAL DEMANDED

PRAECIPE FOR ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

Please enter our appearance on behalf of defendant UPMC Lock Haven in the above-

referenced matter.

Respectfully submitted,

McCORMICK LAW FIRM

WL ASE

Richard F. Schluter, Esquire
I.D. No. 79672

Attorney for Defendant
UPMC Lock Haven

835 West Fourth Street
Williamsport, PA 17701
(570) 326-5131

 
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ESTATE OF EDWARD L. : INTHE COURT OF COMMON PLEAS
HIMMELWRIGHT, Deceased, OF CLINTON COUNTY,
Plaintiff : PENNSYLVANIA
gst}
BOBBIE JO BRUNGARD, NO. 808-202E© 2 3
LYCOMING-CLINTON MENTAL 2g — a
HEALTH-INTELLECTUAL DISABILITY Be PI
PROGRAM, DR. JAMES SWEETLAND, — : CIVIL ACTIONsLAW2 = Fé
UPMC LOCK HAVEN, TROOPER a4 x fae
BENJAMIN J. CAMPANA, and the me
PENNSYLVANIA STATE POLICE, “ —
Defendant JURY TRIAL DEMANDED

CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential
information and documents.

McCORMICK LAW FIRM

Richard F. Schluter, Esquire
I.D. No. 79672

Attorney for Defendant
UPMC Lock Haven

McCORMICK LAW FIRM
835 WW. FOURTH ST.
WILLIAMSPORT, PA.

 

 

 
McCORMICK LAW FIRM
835 WW. FOURTH ST.
WILLIAMSPORT, PA.

 

 

Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 29 of 44

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased,
Plaintiff

Vv.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant

IN THE COURT OF COMMON PLEAS
OF CLINTON COUNTY,
PENNSYLVANIA

NO. 808-2021 cs

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JURY TRIAL DENBANDED

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CERTIFICATE OF SERVICE

I, RICHARD F. SCHLUTER, ESQUIRE, hereby 10. Ihave served a copy of the

foregoing Entry of Appearance, upon the following, this

day of August 2021, as follows:

UNITED STATES MAIL, POSTAGE PREPAID:

Eric Winter, Esquire
646 Lenape Road
Bechtelsville, PA 19505

Bobbie Jo Brungard
3. Nancy Drive.
Mill Hall, PA 17745

Lycoming-Clinton Mental Health
-Intellectual Disability Program

8 North Grove Street, Suite A
Lock Haven, PA 17745

Dr. James Sweetland
24 Cree Drive
Lock Haven, PA 17745

Trooper Benjamin J. Campana
The Pennsylvania State Police
1800 Elmerton Avenue
Harrisburg, PA 17110

McCORMICK LAW FIRM

Lh

Richard F. Schluter, Esquire
I.D. No. 79672

Attorney for Defendant
UPMC Lock Haven

 
‘Case 4:21-cv-01731-MWB Document1-1 Filed 10/11/21 Page 30 of 44

Jeremy S. Montgomery

Deputy Attorney General

Attorney LD. #206330

Office of Attorney General

Torts Litigation Section

15" Floor, Strawberry Square
Harrisburg, PA 17120

Direct Dial: (717) 772-2995
jmontgomery@attorneygeneral.gov

 

ESTATE OF EDWARD L. : In the Court of Common Pleas of
HIMMELWRIGHT, : Clinton County, Pennsylvania
Plaintiff :
v. : No. 21-0808

BOBBIE JO BRUNGARD, LYCOMING-
CLINTON MENTAL HEALTH-
INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LCOK HAVEN, TROOPER

BENJAMIN J. CAMPANA and THE
PENNSYLVANIA STATE POLICE,
Defendants

 

PRAECIPE FOR ENTRY OF APPEARANCE

TO THE PROTHONTARY:
Please enter my appearance on behalf of Defendants, Trooper Benjamin J.

Campana and the Pennsylvania State Police, in the above-captioned matter.

Respectfully submitted,

JOSH SHAPIRO '
Attorney General

   
   

By:

  

  

 

DATED: August 18, 2021 Jexgmy S/Montgomery

Deputy Attorney General
Case 4:21-cv-01731-MWB Document1-1 Filed 10/11/21 Page 31 of 44

 

ESTATE OF EDWARD L.
HIMMELWRIGHT,
Plaintiff

Vv.

BOBBIE JO BRUNGARD, LYCOMING-
CLINTON MENTAL HEALTH-
INTELLECTUAL DISABILITY _
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA and THE
PENNSYLVANIA STATE POLICE,
Defendants

In the Court of Common Pleas of
Clinton County, Pennsylvania

: No. 21-0808

 

THE COMMONWEALTH DEFENDANTS’ CERTIFICATE OF
COMPLIANCE

T certify that this filing complies with the provisions of the Public Access Policy

of the Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.

Submitted by: Jeremy S. Montgomery, Esq.

- / yf
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Name: Jeremy S. Montgomery, Esq.

   

Signature:

 

 

Attorney No.: 206330
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 32 of 44

 

CERTIFICATE OF SERVICE

I hereby certify that | am this day serving the foregoing document(s) upon the
person(s) and in the manner indicated below:

SERVICE BY FIRST CLASS MAIL

POSTAGE PREPAID

-ADDRESSED AS FOLLOWS:
Eric. Winter, Esquire Bobbie Jo Brungard
646 Lenape Road
Bechtelsville, PA 19505
Counsel for Plaintiff
Lycoming-Clinton Mental Health Dr. James Sweetland
200 East Street 24 Cree Drive
Williamsport, PA 17701 Lock Haven, PA 17745
UPMC Lock Haven
24 Cree Drive

Lock Haven, PA 17745

 
    

Jerfmy Montgomery, #206330
Deputy Attorney General

By:

 

Torts Litigation Section

15th Floor, Strawberry Square
Harrisburg, PA 17120
717-772-2995

DATED: August 18, 2021
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 33 of 44 Flee

REBAR KELLY

By: Cathleen Kelly Rebar/Patrick J. Healey
L.D. No.: 82872/63155

470 Norristown Road, Suite 201

Blue Bell, PA 19422

484-344-5340

Email: crebar@rebarkelly.com
phealey(@rebarkelly.com

Attorney for Defendant, Dr. James Sweetland

 

ESTATE OF EDWARD L.
HIMMELWRIGHT,

Deceased
Plaintiff,

VS.

BOBBIE JO BRUNGARD, LYCOMING-
CLINTON MENTAL HEALTH
INTELLECTUAL DISABILITY PROGRAM,
DR. JAMES SWEETLAND, UPMC LOCK
HAVEN, TROOPER BENJAMIN _ J.
CAMPANA, and the PENNSYLVANIA
STATE POLICE

Defendants

 

COURT OF COMMON PLEAS OF
CLINTON COUNTY

DOCKET NO. 808-2021

 

ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

Kindly enter our appearance on behalf of Defendant, Dr. James Sweetland. A jury of

twelve (12) is demanded.

REBAR KELLY

By: (Gil La ir 5

Cathleen Kelly Rebar /

DATE: August 23, 2021

o: MA fhbeke

Patrick J. Healey/
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 34 of 44

CERTIFICATE OF COMPLIANCE
I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential
information and documents.
REBAR KELLY

Abi

Patrick J. Heal€y squire
Attorney for Dr. James S

DATE: August 23, 2021
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 35 of 44

CERTIFICATE OF SERVICE

Patrick J. Healey, Esquire, hereby states that on August 23, 2021, a true and correct copy

of the within Entry of Appearance was sent to the counsel listed below by United States Mail, First

Class, Postage Pre-Paid:

Eric Winter, Esquire Richard F. Schluter, Esquire
646 Lenape Road McCormick Law Firm
Bechtelsville, PA 19505 835 West Fifth Street

Williamsport, PA 17701

and was served upon the following parties by United States Mail, First Class, Postage Pre-Paid:

Bobbie Jo Brungard Lycoming-Clinton Mental Trooper Benjamin J. Campana

3 Nancy Drive Health -Intellectual The Pennsylvania State Police
Mill Hall, PA 177 45 Disability Program 1800 Elmerton Avenue
8 North Grove Street, Suite A Harrisburg, PA 17110

Lock Haven, PA 17745

Li fhbdy

Patrick J. Healeg #

DATE: August 23, 2021
MicCORMICK LAW FIRM
834 W. FOURTH ST,
WILLIAMSPORT, PA.

 

 

Case 4:21-cv-01731-MWB Document 1-1

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased,
Plaintiff

Vv.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE, -
Defendant

Filed 10/11/21 Page 36 of 44

IN THE COURT OF COMMON PLEAS
OF CLINTON COUNTY,
PENNSYLVANIA

NO. 808- 2021

 

JURY TRIAL FiANDED cal

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CERTIFICATE OF SERVICE.

I, RICHARD F. SCHLUTER, ESQUIRE, hereby certify that I have served a copy of the
attached Rule to File a Complaint, upon the following, this 25" day of August 2021, as

follows:

UNITED STATES MAIL, POSTAGE PREPAID:

Eric Winter, Esquire
646 Lenape Road -
Bechtelsville, PA 19505

Bobbie Jo Brungard
Lycoming-Clinton Mental Health

Dr. James Sweetland.

24 Cree Drive
Lock Haven, PA 17745

Trooper Benjamin J. Campana
The Pennsylvania State Police

-Intellectual Disability Program 1800 Elmerton Avenue
8 North Grove Street, Suite A Harrisburg, PA 17110
Lock Haven, PA 17745

McCORMICK, LAW FIRM

 

Richard F. Schluter, Esquire
LD. No. 79672

Attorney for Defendant.
UPMC Lock Haven

 

 

 
Case 4:21-cv-01731-MWB Document 1-1

ESTATE OF EDWARD L.

HIMMELWRIGHT, Deceased,
Plaintiff

v.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the

PENNSYLVANIA STATE POLICE,
Defendant

TO THE PROTHONOTARY:

Filed 10/11/21 Page 37 of 44

IN THE COURT OF COMMON. PLEAS

PRAECIPE FOR RULE TO FILE A COMPLAINT

Please issue a Rule on plaintiff to file a Complaint in the above-captioned action within
twenty (20) days, or suffer a judgment of non pros. °
Respectfully submitted,

McCORMICK LAW FIRM

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CIVIL ACTION - LAW

JURY TRIAL DEMANDED

     

Richard F. Schluter, Esquire
LD. No. 79672

Attomey for Defendant
UPMC Lock Haven

 

AND NOW, this |

 

 

RULE TO FILE A COMPLAINT

  

idned action within twenty (20) days of service of

the within Rule, or to suffer a judgment of non pros.

, 2021, a Rule is hereby issued on

   

~ Prothonotary

 
MeCORWICK LAW FIRM
835 W. FOURTH ST.
WILLIAMSPORT, PA.

 

 

Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 38 of 44

ESTATE OF EDWARD L. IN THE COURT OF COMMON PLEAS
HIMMELWRIGHT, Deceased, OF CLINTON COUNTY,
Plaintiff PENNSYLVANIA
v.
BOBBIE JO BRUNGARD, NO, 808-2021
LYCOMING-CLINTON MENTAL :
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND, : CIVIL ACTION - LAW
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant : JURY TRIAL DEMANDED

CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential
information and documents. .

McCORMICK LAW FIRM

Richard F, Schluter, Esquire
LD,No. 79672
Attorney for Defendant
UPMC Lock Haven

       
  

 

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Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 39 of 44

Exhibit C
Case 4:21-cv-01731-MWB Document 1-1

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased,
Plaintiff

Vv.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant

Filed 10/11/21 Page 40 of 44

IN THE COURT OF COMMON PLEAS
OF CLINTON COUNTY,
PENNSYLVANIA

NO. 808-2021

CIVIL ACTION - LAW

JURY TRIAL DEMANDED

CONSENT TO REMOVAL OF DEFENDANTS
TROOPER BENJAMIN J. CAMPANA AND THE
PENNSYLVANIA STATE POLICE
I, JEREMY S. MONTGOMERY, ESQUIRE, on behalf of the defendants Trooper

Benjamin J. Campana and The Pennsylvania State Police, hereby consent to the removal of the

above-captioned action to the United States District Court for the Middle District of

BWremy S. Montgomery, Esquire

Pennsylvania.
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 41 of 44

Exhibit D
Case 4:21-cv-01731-MWB Document 1-1

ESTATE OF EDWARD L.
HIMMELWRIGHT, Deceased,
Plaintiff

Vv.

BOBBIE JO BRUNGARD,
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY
PROGRAM, DR. JAMES SWEETLAND,
UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant

Filed 10/11/21 Page 42 of 44

IN THE COURT OF COMMON PLEAS
OF CLINTON COUNTY,
PENNSYLVANIA

NO. 808-2021

CIVIL ACTION - LAW

JURY TRIAL DEMANDED

CONSENT TO REMOVAL OF DEFENDANT
DR. JAMES SWEETLAND

I, PATRICK HEALEY, ESQUIRE, on behalf of defendant Dr. James Sweetland, hereby

consent to the removal of the above-captioned action to the United States District Court for the

Middle District of Pennsylvania.

Date: September 30, 2021

      

 

      

Lt, A

ck J. Hegley Esqui

 
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 43 of 44

Exhibit E
Case 4:21-cv-01731-MWB Document 1-1 Filed 10/11/21 Page 44 of 44

ESTATE OF EDWARD L. : IN THE COURT OF COMMON PLEAS
HIMMELWRIGHT, Deceased, : OF CLINTON COUNTY,
Plaintiff : PENNSYLVANIA

v.
BOBBIE JO BRUNGARD, : NO. 808-2021
LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY — :
PROGRAM, DR. JAMES SWEETLAND, - : CIVIL ACTION - LAW

UPMC LOCK HAVEN, TROOPER
BENJAMIN J. CAMPANA, and the
PENNSYLVANIA STATE POLICE,
Defendant : JURY TRIAL DEMANDED

CONSENT TO REMOVAL OF DEFENDANTS
BOBBIE JO BRUNGARD AND LYCOMING-CLINTON MENTAL
HEALTH-INTELLECTUAL DISABILITY PROGRAM
I, NICOLE M. IPPOLITO, ESQUIRE, on behalf of defendants Bobbie Jo Brungard and
Lycoming-Clinton Mental Health-Intellectual Disability Program, hereby consent to the

removal of the above-captioned action to the United States District Court for the Middle

VW AMA

“Nicole M. Ippolito, Esquire |

District of Pennsylvania.

 

By:

 

 
